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           EXHIBIT I
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                                            Exhibit I to the Greenbaum Declaration


Document      Basis for Sealing          Clearly Defined and         Why a Less Restrictive          Any Prior        Party in
Title/ECF                                Serious Injury that         Alternative to the Re-          Order Sealing    Opposition to
No.                                      Would Result if the Re-     lief Sought is Not Avail-       the Same         Sealing, if
                                         lief is Not Granted         able                            Materials in     any, and Basis
                                                                                                     the Pending
                                                                                                     Action
Exhibit 78    Exhibit 78 is a letter     If relief is not granted,   A redacted, public ver-         Yes, ECF No.     No objection
to Letter     from counsel for Johnson   SaveOn would be at a        sion of the Letter is be-       298 at Ex. 21.
dated April   & Johnson Health Care      competitive disadvantage    ing filed. It is believed
22, 2024      Systems, Inc. (with its    should its proprietary      that no less restrictive al-
[ECF No.      affiliates, “J&J”) to      non-public business in-     ternative is available to
313]          counsel for Save On SP     formation and strategy      prevent the disclosure of
              LLC (“SaveOn”). The        be disclosed to competi-    SaveOn’s proprietary
              letter references          tors and other market       business information.
              SaveOn’s response to       participants.
              JJ&J’s interrogatory No.
              18, which describes
              provisions in SaveOn’s
              confidential employee
              handbook disclosed to
              J&J during discovery,
              containing proprietary
              business information.
              See ECF No. 313 at Ex.
              78.
